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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

              v.                                               15-CR-10-A

CHARLES WEBER,

                            Defendant.



                   GOVERNMENT’S SENTENCING MEMORANDUM


       The United States of America, through its attorneys, James P. Kennedy, Jr., United

States Attorney for the Western District of New York, and Stephanie Lamarque, Assistant

United States Attorney, of counsel, hereby files its Sentencing Memorandum.



       For reasons which follow, the government respectfully requests that the Court

impose a sentence of imprisonment concerning defendant CHARLES WEBER.                     The

government also requests that the Court order restitution in the amount of $190,547.50.



I.     PROCEDURAL HISTORY

       The defendant was charged by Indictment with two counts of Making and

Subscribing a False Tax Return, in violation of Title 26, United States Code, Section

7206(1).
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       Count 1 charged that on or about April 15, 2009, the defendant made and subscribed

a U.S. Nonresident Alien Income Tax Return (Form 1040NR) for the calendar year 2006,

which was verified by a written declaration that it was made under the penalties of perjury,

but which falsely stated that the defendant was a nonresident alien; that his only taxable

income was from dividends; that he had not been present in the United States during

calendar year 2006; and that he had not been engaged in the operation of a dental practice

from which he derived gross receipts and sales and received income. Count 1 alleged that

the defendant then and there well knew that he was a citizen of the United States; that he

had received taxable income in addition to dividends; that he had been present in the United

States during calendar year 2006; and that he was required by law and regulation to disclose

the operation of his dental practice, the gross receipts and sales he derived therefrom, and

the income from such practice.



       Count 2 of the Indictment charged that on or about April 15, 2009, the defendant

made and subscribed a U.S. Nonresident Alien Income Tax Return (Form 1040NR) for the

calendar year 2007, which was verified by a written declaration that it was made under the

penalties of perjury, but which falsely stated that the defendant was a nonresident alien; that

his only taxable income was from dividends; that he had not been present in the United

States during calendar year 2007; and that he had not been engaged in the operation of a

dental practice from which he derived gross receipts and sales and received income. Count 2

alleged that the defendant then and there well knew that he was a citizen of the United

States; that he had received taxable income in addition to dividends; that he had been

present in the United States during calendar year 2007; and that he was required by law and


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regulation to disclose the operation of his dental practice, the gross receipts and sales he

derived therefrom, and the income from such practice.



       A jury trial took place before this Court from August 14 - 21, 2018. The government

presented the testimony of twenty witnesses. The defendant, who proceeded pro se,

presented the testimony of his mother and took the stand on his own behalf. On August 21,

2018, the jury returned a verdict of guilty on both counts.



       A presentence report was filed on October 22, 2018 (Dkt. 171). The PSR provides a

detailed and thorough summary of the procedural history in this case, including the issues

presented by defendant Weber during the course of his pretrial supervision in this case and

the basis for the underlying criminal conduct in the Indictment.



II.    SENTENCING PROCEDURE

       Because the Guidelines and the sentencing range they produce in a case must be

considered by the court, “a sentencing judge will normally have to determine the applicable

Guidelines range,” United States v. Crosby, 397 F.3d 103, 111 (2d Cir. 2005), as “the

starting point and the initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007).

The framework in undertaking the Guidelines calculations is set forth in U.S.S.G. ' 1B1.1,

and in applying that framework, the judge is obligated to find all facts relevant to calculating

the range, and make determinations as to the sentencing range that applies to the defendant.

The standard of proof is preponderance of the evidence, see United States v. Garcia, 413

F.3d 201, 220 n.15 (2d Cir. 2005), even when the court is making determinations of fact,


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such as when the fact at issue is whether the defendant committed a crime other than the

charged offense. See United States v. Martinez, 525 F.3d 211, 215 (2d Cir. 2008); United

States v. Watts, 519 U.S. 148, 157 (1997) (per curiam) (“[A] jury's verdict of acquittal does

not prevent the sentencing court from considering conduct underlying the acquitted charge,

so long as that conduct has been proved by a preponderance of the evidence.”). The

Guidelines range calculations are reviewed on appeal, so that “[a]n error in calculating the

applicable Guidelines range is among the kinds of procedural error that renders a sentence

unreasonable.” United States v. Folkes, 622 F.3d 152, 156 (2d Cir. 2010); see also United

States v. Fagans, 406 F.3d 138, 141 (2d Cir. 2005) (in many cases “an incorrect calculation

of the applicable Guidelines range will taint not only a Guidelines sentence, if one is

imposed, but also a non-Guidelines sentence, which may have been explicitly selected with

what was thought to be the applicable Guidelines range as a frame of reference.”).



       Title 18, United States Code, Section 3553(a) requires that a sentencing Court

Aimpose a sentence sufficient, but not greater than necessary, to comply with the purposes

set forth in [18 U.S.C. ' 3553(a)(2)].@ In determining the sentence, the Court must consider:

              (1)    the nature and circumstances of the offense and the history and
                     characteristics of the defendant;

              (2)    the need for the sentence imposed--
                     (A)    to reflect the seriousness of the offense, to promote
                            respect for the law, and to provide just punishment for
                            the offense;
                     (B)    to afford adequate deterrence to criminal conduct;
                     (C)    to protect the public from further crimes of the
                            defendant; and
                     (D)    to provide the defendant with needed educational or
                            vocational training, medical care, or other correctional
                            treatment in the most effective manner;

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             (3)       the kinds of sentences available;
             (4)       the kinds of sentence and the sentencing range established for--
                       (A)    the applicable category of offense committed by the
                              applicable category of defendant as set forth in the
                              guidelines--
                              (i)     issued by the Sentencing Commission pursuant
                                      to section 994(a)(1) of title 28, United States
                                      Code, subject to any amendments made to such
                                      guidelines by act of Congress (regardless of
                                      whether such amendments have yet to be
                                      incorporated by the Sentencing Commission into
                                      amendments issued under section 994(p) of title
                                      28); and


                              (ii)    that, except as provided in section 3742(g), are in
                                      effect on the date the defendant is sentenced; or
                                                  ...
             (5)       any pertinent policy statement—
                       (A)    issued by the Sentencing Commission pursuant to
                              section 994(a)(2) of Title 28, United States Code, subject
                              to any amendments made to such policy statement by
                              act of Congress (regardless of whether such amendments
                              have yet to be incorporated by the Sentencing
                              Commission into amendments issued under Section
                              994(p) of Title 28); and
                       (B)    that, except as provided in Section 3742(g), is in effect
                              on the date the defendant is sentenced.
             (6)       the need to avoid unwarranted sentence disparities among
                       defendants with similar records who have been found guilty of
                       similar conduct; and
             (7)       the need to provide restitution to any victims of the offense.

18 U.S.C. ' 3553(a).



      In executing these statutory responsibilities, the Court is obligated to: (1) identify the

Guidelines range supported by the facts; (2) treat the Guidelines as advisory; and (3)

consider the Guidelines together with the other factors outlined in 18 U.S.C. ' 3553(a).


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United States v. Ratoballi, 452 F.3d 127, 131-32 (2d Cir. 2006). In order to Aconsider@ the

Sentencing Guidelines, as required by 18 U.S.C. ' 3553(a)(4), the Court must determine the

applicable Guidelines range in the same manner as before the Supreme Court=s decision in

United States v. Booker, 543 U.S. 220 (2005), which essentially rendered the Sentencing

Guidelines advisory. See Crosby, 397 F.3d at 112. The Second Circuit, however, has

cautioned:

       that it would be a mistake to think that, after Booker, district judges may
       return to the sentencing regime that existed before 1987 and exercise
       unfettered discretion . . . On the contrary, the Supreme Court expects
       sentencing judges faithfully to discharge their statutory obligations to
       ‘consider’ the Guidelines and all of the other factors listed in section 3553(a).

Crosby, 397 F.3d at 113-114 (Ait is important to bear in mind that Booker and Section

3553(a) do more than render the Guidelines a body of casual advice, to be consulted or

overlooked at the whim of a sentencing judge.@); cf., United States v. Sindima, 488 F.3d 81,

85-86 (2d Cir. 2007) (while a district court may impose a non-Guidelines sentence based

upon Section 3553(a) factors already accounted for in the Guidelines range, it must explain

why a Guidelines sentence did not sufficiently account for those factors.). As long as the

record reflects that the sentencing court was aware of the recommended Guidelines range

and explained the decision to impose a different sentence, a “specific verbal formulation . . .

demonstrat[ing] the adequate discharge of the duty to ‘consider’ matters relevant to

sentencing,” is not required. United States v. Fleming, 397 F.3d 95, 100 (2d Cir. 2005); see

also United States v. Fernandez, 443 F.3d 19, 30 (2d Cir. 2006).




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III.    APPLICATION OF THE SECTION 3553(a) FACTORS

        1.    Nature and Circumstances of the Offense

        The defendant’s crimes were serious and long-running, and the evidence at trial

shows a concerted attempt by the defendant to justify not paying federal income tax because

he did not like the way the government was using the money. As noted in the PSR, the

defendant failed to file tax returns for tax years 2004 and 2005 (the IRS filed substitute

returns for the defendant), and further failed to file returns for the tax years 2008 through

2016. The evidence at trial showed that for the years in question, the defendant had over

$500,000 in gross business receipts. (PSR ¶¶22-23). Even if the Court were to credit the

defendant’s assertion that this income was not effectively connected to the United States,

the defendant still was required to report the income on the form 1040NR, which he did

not, despite signing the 1040NR forms under penalty of perjury.



        The defendant’s flouting of directions is also demonstrated in his interaction with

IRS representatives.   Although initially agreeing to comply with IRS Revenue Officer

Gilbert Reyes’ directive to mail his 2006 and 2007 Forms 1040 directly to Officer Reyes in

Buffalo, the defendant instead mailed completed 1040NR forms to the IRS Service Center

in Austin, Texas, in an effort to thwart RO Reyes’ directive and authority. Moreover, the

defendant attempted to obtain a $15,208.70 refund for the 2006 tax year. (PSR ¶12).

Finally, when interviewed by IRS agents in February 2010 at his dental practice, he falsely

stated that he had no assets, property or automobiles on hand (PSR ¶41), despite evidence

that he owned the building housing his dental practice at 8433 Main Street, Williamsville,

New York (PSR ¶122) and owned his vehicle at the time.


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       The defendant’s post-plea conduct, in particular the voluminous filings challenging

the Court’s jurisdiction and the evidence presented at trial, further demonstrates that he has

not accepted responsibility for his actions, and persists in attempting to avoid being held

accountable for that criminal conduct. Thus, the length and scope of the defendant’s

criminal conduct calls for the imposition of a sentence within the guidelines.



       2.     History and Characteristics of the Defendant

       The evidence presented at trial demonstrated that the defendant did not commit

these crimes as a result of economic troubles — indeed, he could have continued to live a

comfortable life without committing any crimes. Nor did the defendant commit these crimes

from a split-second decision but rather, committed these crimes over a period of time, as a

result of concerted effort and planning. Instead, based on the defendant’s own testimony,

he learned that the income tax was being misapplied by the government (PSR ¶49). The

defendant’s trial testimony showed a selective reading of antiquated court cases and no

consultation with a tax expert or tax attorney. He claims that he is one of a select group of

individuals who, because they can trace their lineage to the time of the American

Revolution, does not have to pay any tax on income. The defendant admitted that he

cannot recall reading the instructions for the 1040NR, instead turning to inapplicable and

irrelevant definitions in the Uniform Commercial Code, which conveniently fit his

definition (or so he claims) for citizenship. (PSR ¶¶ 50, 55). Accordingly, it is clear that the

defendant simply did not like paying taxes because he believed they were not being used as

he thought they should, because, in his opinion, the income tax as practice today does not




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support the government. See also Defendant’s Reply in Support of Judgment of Acquittal,

(Dkt. 169).



       While claiming not to be a citizen of the United States, the defendant continued to

enjoy the benefits conferred by citizenship — traveling internationally on a United States

passport, and presenting the passport to reenter the country, registering as a dentist,

claiming under penalty of perjury as recently as February 2012 that he was a citizen (well

after filing the 2006 and 2007 forms 1040NR), using his Social Security number to obtain

payment from insurance companies, and voting in midterm and presidential elections.

Moreover, despite the defendant’s claims to be a citizen of New York State and not the

United States, he did not pay New York State income tax for the years 2006 or 2007, and

had not filed an income tax return with New York State since he filed a 2003 return in 2006.

The defendant nevertheless applied for and received the New York State STAR property tax

benefit for his Snyder, New York residence in September 2013. (See August 16, 2018 Trial

Testimony of New York State Department of Taxation and Finance Disclosure Officer

Ryan Messier).



       The history and characteristics of the defendant, as outlined above, weigh in favor of

a sentence of imprisonment. He cannot be permitted to reap the benefits of citizenship,

while avoiding the obligations that come along with it.


       3.     The Need to Afford Adequate Deterrence

       Under Section 3553(a), the need for the sentence to “afford adequate deterrence to

criminal conduct,” Title 18, United States Code, Section 3553(a)(2)(B), must be considered

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by the Court. Here, the government respectfully submits that a sentence within the range of

27 to 33 months is necessary to serve this purpose.



       A sentence within this range will deter others who believe they can avoid their

obligation to pay income taxes while enjoying all of the benefits of citizenship, and

disregard the lawful orders of the Court, acting in a way constituting contempt of those

Court orders, and still avoid a jail sentence. It also will deter the defendant from engaging in

future criminal conduct.



IV.    CONCLUSION

       For the reasons set forth above, the government respectfully submits that a

reasonable sentence in this case would be a sentence of between 27 and 33 months.


       DATED: Buffalo, New York, November 26, 2018.

                                                   JAMES P. KENNEDY, JR.
                                                   United States Attorney


                                            BY:    s/ STEPHANIE LAMARQUE
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UNITED STATES OF AMERICA,

              v.                                                  15-CR-10-A

CHARLES WEBER,

                             Defendant.




                               CERTIFICATE OF SERVICE


       I hereby certify that on November 26, 2018, I electronically filed, the foregoing

GOVERNMENT’S SENTENCING MEMORANDUM and I mailed the foregoing by the

U.S. Postal Service to the following participant:


              Charles Weber
              25 Greenbreier Road
              Snyder, NY 14226



                                                    s/ Jennifer L. Atkins
